SO ORDERED.

SIGNED this 6th day of October, 2017.




__________________________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS


IN RE:                                           CHAPTER 11
                                                 CASE NO. 16-10446

ABENGOA BIOENERGY BIOMASS OF
KANSAS, LLC

               Debtor.


                        AGREED ORDER REGARDING
             NON-WAIVER OF PRIVILEGE AND CLAW BACK PROTOCOL

         Upon the agreement of debtor Abengoa Bioenergy Biomass of Kansas, LLC (“ABBK”),

the Official Committee of Unsecured Creditors of Abengoa Bioenergy Biomass of Kansas (the

“Committee”), and Drivetrain, LLC in its capacity as the Liquidating Trustee of the trust created

under the Third Amended Joint Plans of Liquidation of the Debtors and the Official Committee

of Unsecured Creditors under Chapter 11 of the Bankruptcy Code, as modified by the Order

Confirming Third Amended Joint Plans of Liquidation of the Debtors and the Official Committee

of Unsecured Creditors under Chapter 11 of the Bankruptcy Code, Case No. 16-41161-659




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(Bankr. E.D. Mo.) (“Drivetrain”) and pursuant to 11 U.S.C. §§ 105(a) and Rule 502(d) of the

Federal Rules of Evidence; and the Court having found just and sufficient cause therefor,

         IT IS HEREBY ORDERED THAT:

         1.      The production of documents and other electronically stored information (“ESI”)

between or among ABBK, the Committee, and Drivetrain in connection with the contested

matters in the above-captioned case regarding objections to each of the proposed plans of

liquidation and associated disclosure statements filed by ABBK and Drivetrain shall, to the

fullest extent permitted by Rule 502(d) of the Federal Rules of Evidence, be without prejudice to

and shall not waive, for purposes of this case or otherwise, any attorney-client privilege, work

product protection, or other privilege or protection against disclosure that otherwise would apply.

         2.      A producing party may assert privilege or protection over previously produced

documents or ESI at any time by notifying the receiving parties in writing of the assertion of

privilege or protection, except that:

              a. affirmative use of ESI or a document by the producing party in the case waives

                 privilege and protection with respect to that ESI or document, and with respect to

                 other ESI and documents to the extent provided by Rule 502(a) of the Federal

                 Rules of Evidence; and

              b. upon a receiving party’s use in the case of ESI or a document that was produced

                 by a producing party, that producing party must promptly assert any claimed

                 privilege or protection over it and request return or destruction thereof.

         3.      Upon actual or contsructive notice of the assertion of privilege or protection over

produced documents or ESI, or upon a reasonable determination by a receiving party that a



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producing party would likely assert privilege over any produced document or ESI, the receiving

party shall:

               a. to whatever extent it contests the assertion of privilege or protection, promptly so

                  notify the producing party, and maintain the contested documents and ESI in

                  confidence pending resolution of the contest by the Court; and

               b. to whatever extent the receiving party does not contest the assertion of privilege

                  or protection, promptly certify in writing to the producing party that it has

                  returned or destroyed the applicable document(s) or ESI, and has made reasonably

                  diligent efforts to identify and destroy each copy thereof and all information

                  derived therefrom; provided that reasonable diligence will not include destruction

                  of copies on disaster recovery media.

         4.       In the event of a contested assertion of privilege or protection over produced

documents or ESI that cannot be resolved amicably after meeting and conferring in good faith,

either party may bring the contest to the attention of the Court by motion.

                                                  ###




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